
674 S.E.2d 419 (2009)
STATE of North Carolina
v.
Christopher Alan TESSNEAR.
No. 510A08.
Supreme Court of North Carolina.
February 5, 2009.
Anne Gomez, Assistant Appellate Defender, for Tessnear.
Mark A. Davis, Special Deputy Attorney General, Jeff Hunt, District Attorney, for State of NC.


*420 ORDER

Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 14th day of November 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th day of February 2009."
